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 4
     Attorney for Defendant
 5   HUSSEIN ALI
 6
 7
 8                  IN THE UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                  )       CR-F-06-cr-365 LJO
                                                )
12         Plaintiff,                           )       STIPULATION TO
                                                )       CONTINUE SENTENCING
13                                              )       HEARING OF HUSSEIN ALI
                                                )
14         v.                                   )
                                                )       Old date: May 7, 2012 at 1:00 p.m.
15                                              )
                                                )       New proposed date: February 4,
16                                              )       2013 at 8:30 a.m.
     HUSSEIN ALI, et al.                        )
17                                              )
           Defendants.                          )
18                                          )
19         IT IS HEREBY STIPULATED BETWEEN COUNSEL FOR THE
20   GOVERNMENT, JEREMY JEHANGIRI,                          AND KATHERINE HART,
21   COUNSEL FOR DEFENDANT, AS FOLLOWS:
22         1. That the agreement between the government and defendant requires that
23   the defendant meet certain conditions that cannot be met by May 7, 2012, the date
24   previously set for the sentencing hearing;
25         2. That both counsel for the government and counsel for the defense have
26   agreed that a continuance until after the trial of the codefendants, set for 1/8/2013,
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28                                                  1
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 1   is necessary for defendant to comply with the conditions established pursuant to
 2   the plea agreement between the parties;
 3           3. That the statutorily mandated conditions of release, including the
 4   provision that defendant HUSSEIN ALI obey all laws, shall remain in full force
 5   and effect;
 6           4. That defendant HUSSEIN ALI waives any application of the Speedy Trial
 7   Act.
 8
 9   DATED: March 15, 2012                 /s/ Katherine Hart
                                           KATHERINE HART, Attorney for
10                                         HUSSEIN ALI
11
     DATED: March 15, 2012                  /s/Jeremy Jehangiri
12                                         JEREMY JEHANGIRI, Assistant United
                                           States Attorney
13
14
15                                       ORDER
16           GOOD CAUSE APPEARING, it is hereby ordered as follows:
17           That the sentencing hearing of HUSSEIN ALI, previously scheduled for
18   May 7, 2012 at 1:00 p.m. is to be rescheduled to Monday, February 4, 2013 at 8:30
19   a.m.;
20           That HUSSEIN ALI is ordered to continue to comply with all statutorily
21   mandated conditions of Pretrial Release, including the provision that he obey all
22   laws.
23   IT IS SO ORDERED.
24   Dated:        March 15, 2012           /s/ Lawrence J. O'Neill
     b9ed48                             UNITED STATES DISTRICT JUDGE
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28                                             2
